Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 1 of 176




                     EXHIBIT A
       Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 2 of LOWNDES
                                                                    176     COUNTY, GEORGIA
                                                                                                 Lowndes County - Superior Court
                                                                                                                      2022CV0149
                                                                                                                 2/2/2022 2:05 PM
                                                                                                                    Beth C. Greene
                                                                                            Clerk of Superior State Juvenile Courts
                                                                                                        Reviewed by: Stacy Barrett
                        IN THE SUPERIOR COURT OF LOWNDES COUNTY

                                           STATE OF GEORGIA

SHANTELLE REAMS,                                     *



           Plaintiff,                                *
                                                               CIVIL ACTION NO.:
v.                                                   *          2022CV0149

RAFAEL BUCAREY,                                      *
WERNER ENTERPRISES, INC. &
ACE AMERICAN
INSURANCE COMPANY                                    *


           Defendants.


                                                SUMMONS

TO THE ABOVE NAMED DEFENDANT: RAFAEL BUCAREY


           You are hereby summoned and required to ﬁle with the Clerk of said Court and serve

upon Carl G. Fulp, III, Plaintiffs attorney, whose address is P.O. Box 3123, Valdosta, Ga.

31604-3123, appropriate defensive pleadings to the complaint which is herewith served upon

you within thirty (30) days after service of this summons upon you, exclusive of the day of

service.    If you fail to do   so, judgment by default     will be taken against you for the relief

demanded in the complaint.

       Dated this 2nd day of January            _
                                                    2022.



                                                                  /s/ Stacy Barrett
                                                              DEPUTY/CLERK OF COURT
       Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 3 of 176




                     IN THE SUPERIOR COURT OF LOWNDES COUNTY

                                    STATE OF GEORGIA

SHANTELLE REAMS,                             *


        Plaintiff,                           *
                                                       CIVIL ACTION NO.:
v.                                           *


RAFAEL BUCAREY,                              *

WERNER ENTERPRISES, INC. &
ACE AMERICAN
INSURANCE COMPANY                            *


        Defendants.
                                             i:


                                        COMPLAINT

        Plaintiff, named above, for complaint against the above named Defendants, alleges and

states as follows:


                               JURISDICTION AND PARTIES

                                                  1.


       Plaintiff is a resident of Lowndes County and the State of Georgia.

                                                  2.

       Defendant Rafael Bucarey is a resident of the State of Nebraska and may be served with

process at 14507 Frontier Road, Omaha, NE. 68138.

                                                  3.


       Defendant Rafael Bucarey may be served pursuant to the provisions of the Georgia

Nonresident Motorist Act found at O.C.G.A. \§40-12-1 et. Seq.
       Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 4 of 176




        Defendant Werner Enterprises, Inc. is a corporation organized under the laws and

jurisdiction of the State of Nebraska with a principal place of business located at 14507 Frontier
 Road, Omaha, NE. 68138 and is authorized to do business in the State of Georgia.

                                                   .5.


        Defendant Werner Enterprises, Inc. may be served through its registered agent
                                                                                      Corporate

Creations Network, Inc.

                                                   6.

        Defendant Ace American Insurance Company is an insurance company organized under

the laws and jurisdiction   of the State of Pennsylvania and is authorized to   do business in the

State of Georgia.


                                                   7.

       Defendant Ace American Insurance Company’s principle ofﬁce is located in

Philadelphia, Pennsylvania.


                                                  8.


       Defendant Ace American Insurance Company may be served through its register
                                                                                   agent,
C. T. Corporation System, 289 S. Culver St., Lawrenceville, GA 30046-4805.

                                                  9.

       Venue and jurisdiction are proper with this Court.

                                    FACTUAL BACKGROUND

                                                  10.

       On March 16, 2021, the Plaintiff was at a complete stop at a red light on Perimeter Road,
in Valdosta, Lowndes County Georgia.
       Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 5 of 176




                                                11.

        Defendant Rafael Bucarey was the driver of a semi—truck owned by Defendant Werner

Enterprises, Inc. The Defendant was at the red light in front of the Plaintiff when all of a sudden,
he began to back up the semi-truck. The Defendant backed into the front               of Plaintiffs vehicle.

                                                12.


       The semi-truck driven by Defendant Bucarey was being operated by him in the capacity
as an employee, servant, or agent of Defendant Werner Enterprises, Inc.


                                                1   3.


        Plaintiff has suffered personal injury arising out of the incident which occurred on March
16, 2021.

                                          COUNT ONE

                                    GENERAL NEGLIGENCE

                                                14.


        Plaintiff re-alleges and incorporates herein by reference each and every allegation
contained in paragraphs 1-13 of this Complaint as        if fully set forth herein.

                                                1   5.


        Defendant Bucarey owed a duty of care to the Plaintiff in the operation of the semi-truck
owned by Werner Enterprises, Inc.

                                                1   6.


        Defendant Bucarey failed to use ordinary care by negligently operating the semi-truck
and disregarding safety to himself and other drivers.

                                                1   7.


        Defendant Bucarey’s negligence is the proximate and legal cause of the injuries sustained

by the P1aintiff.
        Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 6 of 176




                                                   18.

         As a result of the negligence of Defendant Rafael Bucarey,        the   Plaintiff suffered injuries
 to her person and incurred pain, suffering, and emotional distress.


                                                   1   9.

         Plaintiff has suffered special damages   as outline below:

 MEDICAL EXPENSES:
 South Georgia Medical Center                                                        $ 5,381.00
 South Georgia Emergency Medicine Associates, P.C.                                   $ 1,697.00
 Radiology Associates of Valdosta, LLC.                                              $   392.00
 Care Medical Center                                                                 $1 1,645.00
 Open MRI of Tifton, LLC                                                             $ 2,598.00
 Walgreens Pharmacy                                                                  $    89.44
Total
                                                                                     $21,802.44



                                               COUNT TWO.

                                         NEGLIGENCE PER SE

                                                  20.


        Plaintiff re-alleges and incorporates herein by reference each and
                                                                           every allegation
contained in paragraphs 1-19 of the Complaint as       if fully set forth herein.

                                                  21.


        Defendant Bucarey was negligent in the operation of the semi-truck owned
                                                                                 by Defendant
Werner Enterprises, Inc. by backing the semi-truck into the Plaintiffs vehicle while
                                                                                     stopped at a

red light in Violation   of Georgia statute.
       Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 7 of 176




                                                  22.


        Defendant Bucarey was negligent in the operation of the semi-truck owned by Defendant

Werner Enterprises, Inc. by backing the semi—truck up until he hit the Plaintiff’s vehicle in

Violation of Georgia statute. Said Violation constitutes as negligence per se.


                                                  23.


       The above-named statute created a duty on Defendant Bucarey in which Plaintiff was a

member   of the class sought to   be protected.


                                                  24.


       As a proximate legal result of the negligence of Defendant Bucarey in Violation of

Georgia statute, the Plaintiff suffered injury, and suffered signiﬁcant medical bills, pain,

suffering, and emotional distress.


                                           COUNT THREE

                                     RESPONDENT SUPERIOR

                                                  25.


       Plaintiff re-alleges and incorporates herein by reference each and every allegation

contained in paragraphs 1-24 of this Complaint as       if fully set forth herein.

                                                  26.


       At all times pertinent hereto, Defendant Bucarey was         an employee, servant, and agent   of

Defendant Werner Enterprises, Inc.
       Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 8 of 176




                                                 27.


         On March 16, 2021, Defendant Bucarey was acting within the course and
                                                                               scope of his

 employment of Defendant Werner Enterprises, Inc. when he was negligent in the operation of the

 semi-truck owned by Defendant Werner Enterprises, Inc. which led to the Plaintiff’s
                                                                                     injuries.


                                                28.


        Defendant Werner Enterprises, Inc. is thus liable to the Plaintiff for the
                                                                                   damages and

suffering caused by its employee’s negligence or gross negligence.


                                         COUNT FOUR

                           NEGLIGENT HIRING AND RETENTION

                                                29.


        Plaintiff re-alleges and incorporates herein by reference each and every allegation

contained in paragraphs 1-28 of this Complaint as fully set forth herein.


                                                30.


        Defendant Werner Enterprises, Inc. failed to maintain adequate policies and
                                                                                    procedures

for their employees.


                                                31.


       Appropriate investigation into the background and capabilities of Defendant Bucarey

would have revealed that he should not be retained as an employee of Defendant Werner

Enterprises, Inc.
      Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 9 of 176




                                               32.

       Defendant Werner Enterprises, Inc. was negligent in the hiring and retention of

Defendant Bucarey as its employee.

                                               33.

       The Plaintiff is entitled to recover from Defendant Werner Enterprises, Inc. for its

negligent hiring and retention of Defendant Bucarey.

                                         COUNT FIVE

                                       DIRECT ACTION

                                               34.


       Plaintiff re-alleges and incorporates herein by reference each and every allegation

contained in paragraphs 1-33 of this Complaint as    if fully set forth herein.

                                               35.


       Defendant Ace American Insurance Company is the liability insurance carrier for

Defendant Werner Enterprises, Inc.


                                               36.


       Defendant Ace American Insurance Company issued a comprehensive liability policy to

Defendant Werner Enterprises, Inc. which provides insurance coverages for negligence acts of

Defendant Werner Enterprises, Inc. and its employees, servants, and agents.
      Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 10 of 176




                                                 37.


        The insurance policy issued by Defendant Ace American Insurance Company has been

ﬁled and approved by the Georgia Public Service Commission in compliance with O.C.G.A.

§40-1-112.


                                                 3.8 .



        The insurance policy issued by Defendant Ace American Insurance Company is for the

beneﬁt of those who have a cause of action for damages for negligence of the motor carrier,

Defendant Werner Enterprises, Inc.


                                                 39.


        The insurance policy issued by Defendant Ace American Insurance Company is for the

beneﬁt of the Plaintiff in this action against Defendants.


                                                 40.


        Defendant Ace American Insurance Company has failed and refused to settle or

otherwise resolve the claims of the Plaintiff against the Defendant.


                                                41.


        The Plaintiff is entitled to recover against Defendant Ace American Insurance Company

for all of her claims herein.


                                           COUNT SIX

                                     PUNITIVE DAMAGES
         Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 11 of 176




                                                    42.


          Plaintiff re-alleges and incorporates herein by reference each and every allegation

contained in paragraphsl -41 of this Complaint as         if ﬁllly set forth herein.

                                                    43.


          The wrongﬁil acts of Defendants show willful misconduct, malice, fraud, wantonness,

oppression, and that entire want of care which raises the presumption of conscious indifference

to consequences and the right    of others.

                                                   44.


          Punitive damages should be imposed upon Defendants to keep such wrongful conduct

from being repeated.


                                                   45.


          The Plaintiff is entitled to recover punitive damages from the Defendants for their

wrongful conduct.


          WHEREFORE PLAINTIFFS PRAY FOR THE FOLLOWING RELIEF:

   (a)       That process issue according to law;

   (b)       That judgment be issued against the Defendants;

   (c)       That Plaintiff be awarded Special Damages in an amount of at least $21,802.44;

   (d)       That the Plaintiff have a trial by a jury;

   (e)       That the Plaintiff be awarded general damages at an amount to be determined at trial;

   (t)       That the Plaintiff be awarded punitive damages in an amount to be determined at trial;
     Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 12 of 176




   (g)      That the Plaintiff be awarded attorneys fees and costs for the necessity of having to

            ﬁle a lawsuit; and

   (h)      Any other relief the Court deems just and proper.



         This QM!   day   cream, 2022.

Address of Counsel:                  .
                                                      BY
P.O. Box 3123                                                     Carl   F ulp,
Valdosta, GA 3 1604-3 123                                       State    No.: 28( 69
(229) 242-14341
Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 13 of 176
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Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 18 of 176
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Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 24 of 176
Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 25 of 176
Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 26 of 176
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Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 28 of 176
Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 29 of 176
Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 30 of 176
Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 31 of 176
Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 32 of 176
Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 33 of 176
Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 34 of 176
Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 35 of 176
Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 36 of 176
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Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 39 of 176
      Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 40 ofLOWNDES
                                                                    176    COUNTY, GEORGIA
                                                                                               Lowndes County - Superior Court
                                                                                                                    2022CV0149
                                                                                                               2/2/2022 2:05 PM
                                                                                                                  Beth C. Greene
                                                                                          Clerk of Superior State Juvenile Courts
                                                                                                      Reviewed by: Stacy Barrett
                        IN THE SUPERIOR COURT OF LOWNDES COUNTY

                                           STATE OF GEORGIA

SHANTELLE REAMS,                                   *


           Plaintiff,                              *
                                                             CIVIL ACTION NO.:
                                                   *
                                                              2022CV0149
v.

RAFAEL BUCAREY,                                    *
WERNER ENTERPRISES, INC. &
ACE AMERICAN
INSURANCE COMPANY                                  *


           Defendants.




                                                  S'WONS
TO THE ABOVE NAMED DEFENDANT: ACE AMERICAN INSURANCE CO.


           You are hereby summoned and required to ﬁle with the Clerk of said Court and serve

upon Carl G.     F ulp, III, Plaintiffs attorney, Whose address is P.O. Box 3123, Valdosta, Ga.

31604-3123, appropriate defensive pleadings to the complaint which is herewith served upon

you within thirty (30) days after service of this summons upon you, exclusive of the day of

service.    If you fail to do   so, judgment by default   will be taken against you for the relief

demanded in the complaint.

                        2nd            February
       Dated this             day of              2022.



                                                              /s/ Stacy Barrett
                                                             DEPUTY/CLERK OF COURT
      Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 41 of 176




                     IN THE SUPERIOR COURT OF LOWNDES COUNTY

                                    STATE OF GEORGIA

 SHANTELLE REAMS,                            *



        Plaintiff,                           *
                                                       CIVIL ACTION N 0.:
 v.                                          *


RAFAEL BUCAREY,                              *

WERNER ENTERPRISES, INC. &
ACE AMERICAN
INSURANCE COMPANY                            *


        Defendants.
                                             1:




                                         COMPLAINT

        Plaintiff, named above, for complaint against the above named Defendants, alleges and

states as follows:


                               JURISDICTION AND PARTIES

                                                  1.


       Plaintiff is a resident of Lowndes County and the State of Georgia.

                                                  2.

       Defendant Rafael Bucarey is a resident of the State of Nebraska and
                                                                           may be served with
process at 14507 Frontier Road, Omaha, NE. 68138.

                                                  3.

       Defendant Rafael Bucarey may be served pursuant to the provisions of the
                                                                                Georgia
Nonresident Motorist Act found at O.C.G.A. §40-12-1 et. Seq.
        Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 42 of 176




          Defendant Werner Enterprises, Inc. is a corporation organized under the laws and

 jurisdiction of the State of Nebraska with a principal place of business located at 14507 Frontier
 Road, Omaha, NE. 68138 and is authorized to do business in the State of Georgia.

                                                   5.

          Defendant Werner Enterprises, Inc. may be served through its
                                                                       registered agent Corporate

 Creations Network, Inc.

                                                   6.

         Defendant Ace American Insurance Company is an insurance
                                                                  company organized under

the laws and jurisdiction   of the State of Pennsylvania and is authorized to do business in the

State   of Georgia.


                                                   7.

         Defendant Ace American Insurance Company’s principle ofﬁce is located in

Philadelphia, Pennsylvania.


                                                  8.

         Defendant Ace American Insurance Company may be served
                                                                through its register agent,
C. T. Corporation System, 289 S. Culver St., Lawrenceville, GA 30046-4805.

                                                  9.

         Venue and jurisdiction are proper with this Court.

                                    FACTUAL BACKGROUND

                                                  10.

       On March 16, 2021, the Plaintiff was at a complete stop at a red
                                                                        light on Perimeter Road,
in Valdosta, Lowndes County Georgia.
      Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 43 of 176




                                                 11.


         Defendant Rafael Bucarey was the driver of a semi-truck owned by Defendant Werner

Enterprises, Inc. The Defendant was at the red light in front 0f the Plaintiff when all of a sudden,
he began to back up the semi—truck. The Defendant backed into the front     of Plaintiffs vehicle.

                                                 l2.

        The semi-truck driven by Defendant Bucarey was being operated by him in the capacity
as an employee, servant, or agent   of Defendant Werner Enterprises, Inc.

                                                 l3.

        Plaintiff has suffered personal injury arising out of the incident which occurred on March
16, 2021.

                                           COUNT ONE

                                    GENERAL NEGLIGENCE

                                                 14.


       Plaintiff re-alleges and incorporates herein by reference each and every allegation
contained in paragraphs l-l3 of this Complaint as if fully set forth herein.

                                                 15.


        Defendant Bucarey owed a duty of care to the Plaintiff in the operation of the semi-truck
owned by Werner Enterprises, Inc.

                                                1   6.


        Defendant Bucarey failed to use ordinary care by negligently operating the semi-truck
and disregarding safety to himself and other drivers.


                                                1   7.

        Defendant Bucarey’s negligence is the proximate and legal cause of the injuries sustained

by the Plaintiff.
        Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 44 of 176




                                                 18.


         As a result of the negligence of Defendant Rafael Bucarey, the Plaintiff suffered injuries
to her person and incurred pain, suffering, and emotional distress.


                                                 1   9.

         Plaintiff has suffered special damages as outline below:

MEDICAL EXPENSES:
South Georgia Medical Center                                                         $ 5,381.00
South Georgia Emergency Medicine Associates, P.C.                                    $ 1,697.00
Radiology Associates of Valdosta, LLC.                                               $ 392.00
Care Medical Center                                                                  $11,645.00
Open MRI of Tifton, LLC                                                              $ 2,598.00
Walgreens Pharmacy                                                                   $    89.44
Total                                                                                $21,802.44



                                             COUNT TWO

                                      NEGLIGENCE PER SE

                                                 20.


         Plaintiff re-alleges and incorporates herein by reference each and every allegation

contained in paragraphs 1-19 of the Complaint as      if fully   set forth herein.


                                                 21.


         Defendant Bucarey was negligent in the operation of the semi-truck owned by Defendant

Werner Enterprises, Inc. by backing the semi-truck into the Plaintiffs vehicle while stopped at a

red light in Violation of Georgia statute.
       Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 45 of 176




                                                 22.


        Defendant Bucarey was negligent in the operation of the semi-truck owned by Defendant

 Werner Enterprises, Inc. by backing the semi-truck up until he hit the Plaintiffs vehicle in

Violation of Georgia statute. Said Violation constitutes as negligence per se.


                                                 23.


        The above-named statute created a duty on Defendant Bucarey in which Plaintiff was a

member of the class sought to be protected.


                                                 24.


        As a proximate legal result of the negligence of Defendant Bucarey in Violation of

Georgia statute, the Plaintiff suffered injury, and suffered signiﬁcant medical bills, pain,

suffering, and emotional distress.


                                         COUNT THREE

                                     RESPONDENT SUPERIOR

                                                 25.


       Plaintiff re-alleges and incorporates herein by reference each and every allegation

contained in paragraphs 1-24 of this Complaint as      if fully set forth herein.

                                                 26.


       At all times pertinent hereto, Defendant Bucarey was an employee, servant,      and agent   of
Defendant Werner Enterprises, Inc.
      Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 46 of 176




                                                27.


        On March 16, 2021, Defendant Bucarey was acting within the course and scope of his

employment 0f Defendant Werner Enterprises, Inc. when he was negligent in the operation of the

semi-truck owned by Defendant Werner Enterprises, Inc. which led to the Plaintiff’s injuries.


                                                28.


        Defendant Werner Enterprises, Inc. is thus liable to the Plaintiff for the damages and

suffering caused by its employee’s negligence or gross negligence.


                                         COUNT FOUR

                           NEGLIGENT HIRING AND RETENTION

                                                29.


        Plaintiff re-alleges and incorporates herein by reference each and every allegation

contained in paragraphs 1-28 of this Complaint as fully set forth herein.


                                                30.


        Defendant Werner Enterprises, Inc. failed to maintain adequate policies and procedures

for their employees.


                                                31.


       Appropriate investigation into the background and capabilities of Defendant Bucarey

would have revealed that he should not be retained as an employee of Defendant Werner

Enterprises, Inc.
      Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 47 of 176




                                               32.

       Defendant Werner Enterprises, Inc. was negligent in the hiring and retention of

Defendant Bucarey as its employee.

                                               33.

       The Plaintiff is entitled to recover from Defendant Werner Enterprises, Inc. for its

negligent hiring and retention of Defendant Bucarey.

                                         COUNT FIVE

                                       DIRECT ACTION

                                               34.


       Plaintiff re-alleges and incorporates herein by reference each and every allegation

contained in paragraphs 1-33 of this Complaint as    if fully set forth herein.

                                               35.


       Defendant Ace American Insurance Company is the liability insurance carrier for

Defendant Werner Enterprises, Inc.


                                               36.


       Defendant Ace American Insurance Company issued a comprehensive liability policy to

Defendant Werner Enterprises, Inc. which provides insurance coverages for negligence acts of

Defendant Werner Enterprises, Inc. and its employees, servants, and agents.
      Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 48 of 176




                                                 37.


        The insurance policy issued by Defendant Ace American Insurance Company has been

ﬁled and approved by the Georgia Public Service Commission in compliance with O.C.G.A.

§40—1—112.



                                                 38.


        The insurance policy issued by Defendant Ace American Insurance Company is for the

beneﬁt of those who have a cause of action for damages for negligence of the motor carrier,

Defendant Werner Enterprises, Inc.


                                                 39.


        The insurance policy issued by Defendant Ace American Insurance Company is for the

beneﬁt of the Plaintiff in this action against Defendants.


                                                 40.


        Defendant Ace American Insurance Company has failed and refused to settle or

otherwise resolve the claims of the Plaintiff against the Defendant.


                                                 41.


        The Plaintiff is entitled to recover against Defendant Ace American Insurance Company

for all of her claims herein.


                                           COUNT SIX

                                     PUNITIVE DAMAGES
         Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 49 of 176




                                                   42.


          Plaintiff re-alleges and incorporates herein by reference each and every allegation

contained in paragraphsl-4l of this Complaint as      if fully set forth herein.

                                                   43.


          The wrongﬁll acts of Defendants show willful misconduct, malice, fraud, wantonness,

oppression, and that entire want of care which raises the presumption of conscious indifference

to consequences and the right    of others.

                                                   44.


          Punitive damages should be imposed upon Defendants to keep such wrongful conduct

from being repeated.


                                                   45.


         The Plaintiff is entitled to recover punitive damages from the Defendants for their

wrongful conduct.


         WHEREF ORE PLAINTIFFS PRAY FOR THE FOLLOWING RELIEF:

   (a)       That process issue according to law;

   (b)       That judgment be issued against the Defendants;

   (c)       That Plaintiff be awarded Special Damages in an amount of at least $21,802.44;

   (d)       That the Plaintiff have a trial by a jury;

   (e)       That the Plaintiff be awarded general damages at an amount to be determined at trial;

   (f)       That the Plaintiff be awarded punitive damages in an amount to be determined at trial;
     Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 50 of 176




   (g)      That the Plaintiff be awarded attorneys fees and costs for the necessity of having to

            ﬁle a lawsuit; and

   (h)      Any other relief the Court deems just and proper.



         This   a“!   day   ofmy; 2022.                                  _.

                            fem
Address of Counsel:                 '

                                                      BY:    -


                                                                     ,_
Po. Box 3123                                                 “Tia-r1          .   Fulp,
Valdosta, GA 31604-3123                                          State        -

                                                                                  No.: 28   69
(229) 242-14341
      Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 51 ofLOWNDES
                                                                    176    COUNTY, GEORGIA
                                                                                       Lowndes County - Superior Court
                                                                                                            2022CV0149
                                                                                                       3/7/2022 1:45 PM
                                                                                                          Beth C. Greene
                                                                                  Clerk of Superior State Juvenile Courts
                                                                                              Reviewed by: Victor Aviles

                   IN THE SUPERIORCOURT OF LOWNDES COUNTY

                                     STATE OF GEORGIA


SHANTELLE RAMS,                               *

       Plaintif,                              *      CIVIL ACTION NO.:

v.                                            *      2022CV0149

RAFAEL BUCAR EY,                              *
WER NERENTER  PRISES, INC. &
ACE AMER ICAN
INSURANCE COMPANY                             *

       Defndants.
                                              *


NOTICE OF DUTY TO A VOID UNNECESSARY COSTS OF SERVICE OF SUMMONS

       Subsection (d) of Code Section 9-11-4 of the Off cial Code of Georgia Annotated
requires certain parties to cooperate in saving unnecessary costs of service of the summons and
the pleading. A def ndant located in the United States who, af er being notif ed of an action and
asked by a plaintiff located in the United States to waive service of a summons, f ils to do so will
be required to bear the cost of such service unless good cause be shown f r such def ndant's
f ilure to sign and retur the waiver.

       It is not good cause f r a f ilure to waive service that a party believes that the complaint
is unf unded, or that the action has been brought in an improper place or in a court that lacks
jurisdiction over the subject matter of the action or over its person or property. A party who
waives service of the summons retains all def nses and objections (except any relating to the
summons or to the service of the summons) and may later object to the jurisdiction of the court
or to the place where the action has been brought.

       A defendant who waives service must, within the time specif ed on the waiver f rm,
serve on the plaintiff s attor ey a response to the complaint and also must f le a signed copy of
the response with the court. If the answer is not served within this time, a def ult judgment may
Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 52 of 176
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                                                            Clerk of Superior State Juvenile Courts
                                                                       Reviewed by: Stacy Barrett




                                      2022CV0149




         2nd        January


                                        /s/ Stacy Barrett
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                              STATE OF GEORGIA
                                                                                                 Reviewed by: Stacy Barrett



                                       Secretary of State
                                        Corporations Division
                                           313 West Tower
                                     2 Martin Luther King, Jr. Dr.
                                     Atlanta, Georgia 30334-1530



                         CERTIFICATE OF ACKNOWLEDGEMENT

I, Brad Raffensperger, Secretary of State of the State of Georgia, do hereby certify under the seal of my
office that copies of legal documents regarding service of process upon:

                                             Rafael Bucarey

have been filed with the Secretary of State on 02/16/2022 pursuant to O.C.G.A. § 40-12-2 relating to the
following matter:

Case: Shantelle Reams v. Rafael Bucarey
Court: Lowndes County Superior Court
Civil Action No.: 2022CV0149




                                                Witness my hand and official seal in the City of Atlanta
                                                and the State of Georgia on 02/23/2022.
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                              STATE OF GEORGIA
                                                                                                 Reviewed by: Victor Aviles



                                       Secretary of State
                                        Corporations Division
                                           313 West Tower
                                     2 Martin Luther King, Jr. Dr.
                                     Atlanta, Georgia 30334-1530



                         CERTIFICATE OF ACKNOWLEDGEMENT

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Case: Shantelle Reams v. Rafael Bucarey
Court: Lowndes County Superior Court
Civil Action No.: 2022CV0149




                                                Witness my hand and official seal in the City of Atlanta
                                                and the State of Georgia on 02/23/2022.
Case 7:22-cv-00024-WLS Document 1-1 Filed 03/11/22 Page 103 of 176
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